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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

Warren E. Burger Federal       Diana E. Murphy               Gerald W. Heaney Federal       Edward J. Devitt U.S.
Building and U.S. Courthouse   U.S. Courthouse               Building and U.S. Courthouse   Courthouse and Federal
316 North Robert Street        300 South Fourth Street       and Customhouse                Building
Room 100                       Room 202                      515 West First Street          118 South Mill Street
St. Paul, MN 55101             Minneapolis, MN 55415         Duluth, MN 55802               Fergus Falls, MN 56537


                                                 CIVIL NOTICE
The appeal filing fee is $605.00. If you are indigent, you can apply for leave to proceed in
forma pauperis, ("IFP").

The purpose of this notice is to summarize the time limits for filing with the District Court
Clerk's Office a Notice of Appeal to the Eighth Circuit Court of Appeals or the Federal Circuit
Court of Appeals (when applicable) from a final decision of the District Court in a civil case.

         This is a summary only. For specific information on the time limits for filing a Notice of
         Appeal, review the applicable federal civil and appellate procedure rules and statutes.

Rule 4(a) of the Federal Rules of Appellate Procedure (Fed. R. App. P.) requires that a Notice of
Appeal be filed within:

             1.         Thirty days (60 days if the United States is a party) after the date of "entry of
                        the judgment or order appealed from;" or
             2.         Thirty days (60 days if the United States is a party) after the date of entry of
                        an order denying a timely motion for a new trial under Fed. R. Civ. P. 59; or
             3.         Thirty days (60 days if the United States is a party) after the date of entry of
                        an order granting or denying a timely motion for judgment under Fed. R. Civ.
                        P. 50(b), to amend or make additional findings of fact under Fed. R. Civ. P.
                        52(b), and/or to alter or amend the judgment under Fed. R. Civ. P. 59; or
             4.         Fourteen days after the date on which a previously timely Notice of Appeal
                        was filed.

If a Notice of Appeal is not timely filed, a party in a civil case can move the District Court
pursuant to Fed. R. App. P. 4(a)(5) to extend the time for filing a Notice of Appeal. This motion
must be filed no later than 30 days after the period for filing a Notice of Appeal expires. If the
motion is filed after the period for filing a Notice of Appeal expires, the party bringing the
motion must give the opposing parties notice of it. The District Court may grant the motion,
but only if excusable neglect or good cause is shown for failing to file a timely Notice of
Appeal.
